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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

TIANA HILL,                         )
individually and as                 )
MOTHER and next friend of           )
baby D.H. her minor child           )
                                    )
                                    )        CIVIL ACTION FILE NO.:
                                    )        1:21-CV-05300-TWT
Plaintiffs,                         )
                                    )
v.                                  )
                                    )
CLAYTON COUNTY GEORGIA, )
CLAYTON COUNTY BOARD OF )
COMMISSIONERS,                      )
CLAYTON COUNTY SHERIFF              )
VICTOR HILL in his official and     )
individual capacities,              )
CORRECTHEALTH                       )
CLAYTON LLC,                        )
DR. CHARLES CLOPTON in his          )
official and individual capacities, )
JOHN DOES in their official and     )
individual capacities               )
                                    )
Defendants.                         )
_______________________________)

 PLAINTIFF’S OBJECTION TO DEFENDANTS CLAYTON COUNTY
  GEORGIA, CLAYTON COUNTY BOARD OF COMMISSIONERS,
CLAYTON COUNTY SHERIFF VICTOR HILL’S MOTION TO DISMISS
                 PLAINTIFF’S COMPLAINT

      COMES NOW Plaintiff’s Tiana Hill, individually and as Mother and next

friend of baby D.H. (hereinafter “Plaintiffs”) by and through undersigned counsel of


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record, and hereby file their objections to Defendants, motion to dismiss Plaintiff’s

Complaint (Doc. 3 and Doc 20.) Plaintiff’s request that this Court Deny Defendants’

motion.

      In support of this objection, Plaintiff’s rely upon the arguments and citations

to authority presented in their previously filed Memorandum of Law In Support of

Plaintiffs’ Objection to Defendants’ Motion to Dismiss Plaintiffs’ Complaint (Doc.

10) and the Plaintiff’s Objection to Defendant Victor Hill’s Motion accompanying

memorandum of law, which they file contemporaneously with this motion. For the

reasons more fully set forth in the previously filed and accompanying memorandum

of law, defendant’s motion should be denied.

      Respectfully submitted this the 31st day of March 2022.

                                              /s/ Mitchell L. Albert III
                                              Mitchell L. Albert III
                                              Attorney for Plaintiff
                                              Georgia Bar No.: 307196


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                         CERTIFICATE OF SERVICE


      This is to certify that I, Mitchell L. Albert III, have this day electronically

submitted the forgoing served the foregoing     PLAINTIFF’S OBJECTION TO

DEFENDANTS CLAYTON COUNTY GEORGIA, CLAYTON COUNTY

BOARD OF COMMISSIONERS, CLAYTON COUNTY SHERIFF VICTOR

HILL’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT to the Clerk of

Court using the CM/ECF system which will automatically send electronic mail

notification of such filing to counsel of record who are CM/ECF participants:

                                A. Ali Sabzevari
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                         alison.currie@lhalawyers.com


      Respectfully submitted this the 31st day of March 2022.

                                             /s/ Mitchell L. Albert III
                                             Mitchell L. Albert III
                                             Attorney for Plaintiff
                                             Georgia Bar No.: 307196



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